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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,

Criminal No. 95-88-03
Civil No. 00-2417

FILED

Vv.

- -2 oe 68 oe

BILLY RICHARDSON,

 

Defendant. I
OCT 0 9 2002
MEMORANDUM OPINION NANCY MAYER WHITTINGTON, CLERK
U.S. DISTRICT COURT

The Defendant, Billy Richardson, has filed a Motion, pursuant
to 28 U.S.C. § 2255, to set aside his convictions for ineffective
assistance of counsel. The Defendants was one of three co-
defendants charged in a 68-count indictment alleging murders, armed
robberies, assaults, and weapons offenses. The jury found the
Defendant guilty of five counts of armed assault with intent to
murder, possession of a firearm during a crime of violence, federal
use of a firearm during a crime of violence, three counts of armed
robbery, assault with a dangerous weapon, second degree burglary
while armed, and two counts of possession of a firearm after having
committed a felony. Ultimately, the Court of Appeals upheld all of
these convictions. United States v. Harold Cunningham and Billy
Richardson, 145 F.3d 1385 (D.C. Cir. 1998).

The Defendant, pro se, argues in his pending Motion that his
Sixth Amendment right to the effective assistance of counsel was
violated for three reasons: the trial attorney failed to move to

dismiss on speedy trial grounds; the trial attorney failed to
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challenge this Court's written finding that the Defendant was
involved in a violent incident that occurred in front of the jury;
and the trial attorney had a conflict of interest between Defendant
and a former client. In Strickland v. Washington, 466 U.S. 668,
687, 688, 693 (1984), the Supreme Court established the following
two pronged test for ineffective assistance of counsel: first, a
defendant must show that the attorney's errors "fell below an
objective standard of reasonableness," 1.e., "prevailing
professional norms"; and, second, a defendant must affirmatively
prove prejudice so serious as to lead to a trial result that is
unreliable. See also U.S. v. Mitchell, 216 F.3d 1126 (D.C. Cir.
2000) and U.S. v. Calderone, 163 F.3d 644 (D.C. Cir. 1999).
"Pailure to make a required showing of either deficient performance
or sufficient prejudice defeats the ineffective claim." Strickland
at 700. Defendant's arguments fail for the following reasons:

1. Defendant argues that the trial attorney should have
moved to dismiss the case for violation of the Speedy Trial Act, 18
U.S.C. § 3161(c) (1). The simple answer is that the Speedy Trial
Act was not violated. Defendant's trial began 370 days after his
presentment before a judicial officer. Of those 370 days, 314 were
tolled because of excludable events under the Speedy Trial Act;
those excludable events included more than 20 substantive motions,
numerous procedural motions, an array of complicated legal issues,

and scheduling conflicts among the many lawyers involved in
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representing the three Defendants, as well as the Government.
Since only 56 days between presentment and trial were not
excludable under the Speedy Trial Act, the Act's 70-day requirement
was easily satisfied.

Finally, Defendant has failed to suggest any prejudice he may
have suffered from the failure to make such a motion.

2. Defendant argues that his defense counsel was ineffective
for failing to challenge the Court's written statement of what
occurred in open court. This argument has no merit whatsoever.
The Court issued written findings, to ensure a permanent record,
about Mr. Cunningham's stabbing a witness in open court. Included
in these findings was the observation that Mr. Richardson had
joined his friend, Mr. Cunningham, by jumping into the fray as the
Marshals, prosecutor and FBI case agent struggled to subdue Mr.
Cunningham. It would have been ludicrous for Defendant's counsel
to have challenged these findings.

Finally, Defendant cannot point to any prejudice he suffered
as a result of these findings. Although the Court was forced to
adopt much more stringent security measures, the shackles Mr.
Richardson had to wear were not visible to the jury.

3. Defendant argues that his trial counsel had a conflict of
interest because counsel had briefly represented Michael Wright, a
potential witness to and former suspect in two of the violent

incidents in this case. Trial counsel had represented Mr. Wright
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when he was Sra eae sy charged with these offenses. Defendant
suffered absolutely no prejudice because the Government dismissed
the counts involving these two incidents against the Defendant.
Moreover, Mr. Wright was never called to testify as a witness.
Finally, even if he had been called, the Court indicated that it
would appoint standby counsel to conduct any cross-examination of
Mr. Wright.

In short, Defendant cannot show (1) that his attorney acted
under "an actual conflict of interest" and/or (2) that the
"conflict had some negative effect upon the Defendant." U.S. v.
Shark, 51 F.3d 1072, 1075-76 (D.C. Cir.), cert. denied, 516 U.S.
955 (1995) (citing Cuyler _v. Sullivan, 446 U.S. 335, 349-50
(1980)).

For all the forgoing reasons, Defendant's Motion is denied.

Date O au. g A O02 G Leckey 2 La ZZ Ye

Gladys Kessler
United States! District Judge
